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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                        District
                                                 __________      of Kansas
                                                             District of __________

                           Grace Lee                              )
                                                                  )
                                                                  )
                                                                  )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                       Civil Action No. 16-cv-02089-JAR
                                                                  )
                  Kansas State University                         )
                                                                  )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                       Kansas State University
                                       c/o Derek Schmidt
                                       Kansas Attorney General
                                       120 SW 10th Ave., 2nd Floor
                                       Topeka, KS 66612

          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Grace Lee
                                       198 Mount Vernon St. #S1
                                       Malden, MA 02148



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK OF COURT


Date:     May 2, 2016                                                      s/ Yolanda Marzett, Deputy Clerk
                                                                                      Signature of Clerk or Deputy Clerk
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